               EXHIBIT A




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                  Transcript of Milwaukee County Board of Supervisor’s
                                    December 15, 2016

Chairman       Good morning. The December 15th, 2016 meeting of the Milwaukee County
Lipscomb       Board of Supervisors will come to order. The first order of business is the call of
               the roll. Mr. Clerk, please call the roll. Supervisor Nicholson is excused from
               today’s meeting.
Clerk          Thank you. Supervisor Alexander.
Alexander      Present.
Clerk          Cullen.
Cullen         Here.
Clerk          Dimitrijevic.
Dimitrijevic   Here.
Clerk          Haas
Haas           Here.
Clerk          Johnson.
Johnson        Here.
Clerk          Mayo
Mayo           Present
Clerk          Moore Omokunde
Moore          Here.
Clerk          Sartori
Sartori        Here
Clerk          Schmitt
Schmitt        Here
Clerk          Sebring
Sebring        Here
Clerk          Staskunas
Staskunas
Clerk          Taylor second
Taylor         Present.
Clerk          Taylor ninth
Taylor         Here.
Clerk          Wasserman
Wasserman      Here
Clerk          Weishan
Weishan        Here
Clerk          West
West           Present
Clerk          Mr. Chairman
Lipscomb       Here. Quorum is present. I invite members and our guests to please rise and
               join me in the pledge of allegiance followed by a brief moment of silence.
Group          I pledge allegiance to the flag of the United States of America and to the republic
               for which it stands, one nation under God, indivisible, with liberty and justice for
               all.



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Lipscomb    59.
Clerk       Item 59. Number 16-637. A resolution ordinance in conjunction with the
            Department of Parks, Recreation, and Culture, to amend Chapter 47.03 of the
            Milwaukee County Code of General Ordinances, to establish a policy for
            location-based augmented reality games in Milwaukee County Parks. The
            recommendation of the Committee on Parks, Energy, and Environment is
            adoption. Amendment number 1 offered by Supervisor Wasserman pending.
Lipscomb    Supervisor Wasserman.
Wasserman   I would like to move adoption of item 1 to item 59. This address – first of all, I
            would like to thank the Corporation Counsel and also Chairman Lipscomb for
            this amendment. This really does clarify some of items that were brought up in
            committee hearing about the framework and putting specific words into it and
            specific fines. I think it’s a great amendment. It really kind of clarifies the
            questions that were raised in committee, and I would urge your approval on this
            amendment.
Lipscomb    Okay. Thank you. Supervisor Sartori on the amendment.
Sartori     I would like to be added with the consent of the author of this proposal as a co-
            sponsor.
Lipscomb    Okay. Supervisor Sartori asked to be added as a co-sponsor on the item. Hearing
            no objection, so ordered.

            Supervisor Haas.
Haas        Thank you, Mr. Chairman. Mr. Chairman, the committee met and we discussed
            this item. I have been getting quite a bit of feedback about it, negative feedback.
            People saying what on earth are you doing, among other things. And I now have
            a number of questions actually about some of the definitions and the terms of the
            language. So I would like to also, Mr. Chairman, refer this back to the Parks
            Committee.
Lipscomb    Okay. Motion is for referral back to Parks Committee. Supervisor Sebring.
Sebring     Thank you, Mr. Chairman. I have also received a great number of calls from
            constituents and actually visits at my shop that are very concerned about this and
            not a single one of them was in favor of it. So I believe referring this back to
            committee would be appropriate.
Lipscomb    Okay. Supervisor Wasserman.
Wasserman   Thank you, Mr. Chairman. I think that one thing we to do as supervisors is we
            have to educate. And if you read through this amendment and you read through
            the resolution itself, it’s very clear cut. What we’re trying to do is we want to
            have framework when the electronic gaming comes to communities, not just
            Pokémon, but future games come to your district and to all of our districts, that
            we have a system as to how they come in. Currently we have no framework, and
            Pokémon which started on July 6th became a worldwide phenomenon and its first
            of many to come. And our county spent tens of thousands of dollars on law
            enforcement. Sheriff’s deputies were taken off highways. They were put in
            parks, one park in particular. Going through parks at 10:00 at night chasing kids
            through waterfalls, through the forest, up and down, trying to get them out of the


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     parks by 10:00. We had to deal with waste. We had parks crews – they even got
     the house of corrections’ prisoners walking in their jumpsuits – going picking up
     litter. We had the Milwaukee police department. All because of an event that
     took place and the many events that are going to be coming forward – came to
     our parks because of no framework, no legal framework. Electronic gaming is a
     new event that’s going to be coming to your districts and we need a system. So
     working with Corporation Counsel, working with community members, working
     with gamers because at the same time people should be allowed to play games,
     working with the Parks Department, we came up with something that really
     worked, and we heard testimony in committee. There wasn’t a single person that
     opposed it. Not one. Everyone was for it. So we had an open hearing. But games
     are coming and if you had an event in your district in your park and hundreds – I
     mean thousands of people show up. They don’t get a permit. They don’t pay for
     damage to your parks. What do you do? Now, when Summerfest comes in, a
     wedding party wants to have it, a beer garden – a beer garden is coming to your
     district – what do beer gardens have to do? They have to go through a permitting
     process. This is nothing more than that. In fact, there are safeguards in this for
     the companies themselves. We just want to have their name, their number.
     Would you believe when Pokémon came, we didn’t even have a phone number
     to call for the company. We didn’t have an email. We didn’t have an address.
     There was no response from this company, which made thousands upon
     thousands of dollars on our Milwaukee County, and they didn’t pay for one
     thing. None of the gardens. None of the garbage. None of the law enforcement.
     Not one thing and we didn’t even have a phone number. They responded after a
     few months. They finally all of sudden said, oh, we’re calling in, and they made
     a phone call at 4:55 to the county executive’s office and said, hey’ we’re
     Nantech. Do you guys have a problem in the district? __ tells them you’re doing
     business with Milwaukee County. You’re doing business with us. You got to
     provide a name and a number. This basic thing. So this is a very simple
     framework. You can read this resolution. It takes a few seconds to read it – a
     few minutes. And we just educate our constituents that this is a business like any
     other business if you’re coming to Milwaukee County, we need to have your
     name, number, phone number, and if you do damage to any of our parks, you’re
     going to be held responsible. And at the same time we want gamers to be able to
     play games. In fact, we’re even potentially having through the Parks Department
     an all you can play Pokémon festival all night long potentially at Veterans Park.
     Twenty-four hours of Pokémon. Now, for you gamers – we could put them
     over the edge as my colleague is saying from the 16th. I think this is a great
     simple resolution. I think we move forward on it because guess what – my
     district today. It’s your district tomorrow. And you won’t even have a phone
     number to call. Can you imagine in your district. Supervisor from the 18th, your
     district got a phone call – Supervisor from the 12th – all of a sudden and you
     don’t even have a phone number to call and they’re having a party. Beer gardens
     you have a phone number. If you have any other company, weddings come into
     your place, they’re throwing a party, you have a phone number. You go through
     a permitting process. This is basically permitting.



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            So I would like to thank the Chairman for his foresight and adding this, and also
            Colleague Foley who did an excellent job as Corporation Counsel who has really
            had to deal with this for month after month coming up with something that really
            works well. So I would like to that those involved in coming up with this
            amendment.
Lipscomb    Thank you. Supervisor West and then Sartori.
West        Thank you very much, Mr. Chairman. We had a brief discussion earlier about
            micromanaging, and I feel like this falls into that category. Pokémon Go, believe
            it or not, and their imaginary monsters, did not just affect Milwaukee County
            parks, and it did not just affect the Supervisor from the 3rd District’s park.
            Pokémon Go -- and again, I don’t play Pokémon Go mostly because I don’t have
            storage on my phone. I am highly intrigued by it I’m not going to lie. My kids I
            raised them in the ‘80s. They all loved to Pokémon. We had the Pokémon cards.
            I knew the whole game. However, because my phone does not have storage
            properly to store the Pokémon in there once I catch them, I don’t have Pokémon
            Go on my phone. However, my children, my niece, my nephews, my sister-in-
            law, my brothers – they all have Pokémon Go on their phones, yes. However,
            my son-in-law. So my understanding of this particular game is that it is not just
            again the park from the Supervisor from the 3rd District but it does affect each of
            our districts. It affects – they were set up to be aligned with – again if my
            information is correct – with historical points. They were set up to correlate with
            libraries, places that you would find people that may be interested in hunting
            imaginary monsters. The area that I go to three times a week in south Milwaukee
            has actually three Pokémon Go spots within a half a block radius. So the library,
            the American Legion post, and the Caterpillar Museum are all Pokémon Go
            spots. We have never had to call the police. I have come out of work at 1:00 in
            the morning and the parking lot is full, and I’m like, whoa, what’s going on here,
            and had someone explain to me that there was some kind of Poke phenomenon
            going on. What I think would have been great is if we would have just gotten
            something that said, here, this is what’s happening and now go and educate the
            people around the park. I think it was more of the way that the neighborhood
            and the community dealt with the fear of the unknown than it was really a fact of
            the Pokémon Go or the Pokémon Go players being in the parks. And I say this
            because I had a meeting in Cudahy with the mayor of Cudahy who I like very
            much and who has a very good sense of humor. And he said to me – we got on
            the subject of Pokémon Go – this was last summer – and he said, I got a call
            from the police chief on Friday night, and he said there’s all of these young
            people out on the front lawn of city hall so he called me because he thought
            maybe they were protesting or something, and he wants to know from the mayor
            why are all these people here. Well, it turns out that we have a Pokémon gym
            that is – I know I learned all this stuff, too – that is actually behind the city hall
            in Cudahy and it’s attached to the water department so people go there and they
            battle their Pokémon there. The chief says to the mayor, what would you like
            me to do, and he says why don’t I just drive over there and see what they’re
            doing, and he did. So what actually the mayor did was he got his kid and got in


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               the car and went over there because his kid played Pokémon Go so he wanted to
               go and see. So I think it has a lot to do with the education level and whether or
               not you know what’s going on with it. I think this was kind of beyond our
               control. I never got to see the fiscal note so I didn’t know that we had spent tens
               of thousands of dollars on the sheriff being in Lake Park. I do know one of the
               sheriff deputies who was over there and she told me herself that she would go
               home after her shift and grab her kid and she would go back to Lake Park, and
               they would play. So there were deputies there that maybe weren’t even in
               uniform. So it seemed like it was very safe and very secure. I myself dropped my
               daughter off there last summer to play Pokémon Go. It was very popular. So I’m
               not sure that this is even within the realm of what we should be doing. I believe
               that we probably have other things that are probably more within our
               jurisdiction. I just really wanted for the Supervisor in the 3rd District to know that
               it actually really wasn’t just – I mean Lake Park obviously was very popular
               because they had several I believe Poke stops within that one park, but we all
               had Pokémon stops in our parks. And I didn’t receive -- honestly I didn’t receive
               one call from anybody saying they had an issue with Pokémon or Pokémon
               trainers in any of my parks.

               Thank you, Mr. Chairman.
Lipscomb       Thank you. Supervisor Sartori.
Sartori        Thank you, Mr. Chairman. I still want to reaffirm my support for the comments
               made by the 3rd District Supervisor. He had a very, very unique situation in
               Lake Park. I viewed the videotape of the park meeting. I also have received some
               constituent calls in opposition to this proposed ordinance -- more questions than
               opposition. The mayor of South Milwaukee contacted me directly, and he and
               his two children were playing Pokémon in Grant Park. I was unaware that there
               was a Pokémon stop in Cudahy, but I was aware that there were at least two in
               South Milwaukee.

               This is a new phenomenon whether it’s a fad or just what it is I don’t know. For
               some people it’s an addiction. We all heard about gambling addiction. We’ve all
               heard about alcohol addiction. Well, this is a form of addiction for some people.
               And that’s – you know. There has to be some type of outside framework to
               protect our parks, to protect our park neighborhoods. And the initial, at least,
               lack of cooperation from the company is very, very disheartening. And that’s all
               I have to say.
Lipscomb       Thank you, Supervisor. The motion is referral back to Parks. Okay.
Clerk          The question is shall the matter be referred to the Parks Committee.

               Supervisor Alexander.
Alexander      Aye.
Clerk          Cullen
Cullen         Aye
Clerk          Dimitrijevic
Dimitrijevic   Aye


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Clerk           Haas
Haas            Aye
Clerk           Johnson
Johnson         Aye
Clerk           Mayo
Mayo
Clerk           Moore Omokunde
Moore           Aye
Clerk           Sartori
Sartori         Nay
Clerk           Schmitt
Schmitt         Aye
Clerk           Sebring
Sebring         Aye.
Clerk           Staskunas
Staskunas       Aye
Clerk           Taylor 2nd.
Taylor 2        Aye.
Clerk           Taylor 9th
Taylor 9        No
Clerk           Wasserman
Wasserman       No
Clerk           Weishan
Weishan         Aye
Clerk           West
West            Aye
Clerk           Mr. Chairman.
Lipscomb        Aye
Alexander       Alexander, aye to no.
Clerk           Mayo.
Mayo            I ___.
Clerk           Question is shall the matter be referred to the parks committee.
Mayo            Referred back?
Clerk           Referred to the Parks Committee.
Mayo            Ok. Sure. ___
Lipscomb        13 ayes, 4 nos. The item is referred to Parks.
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